                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:97CR155-25

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )
                                    )                ORDER
FRED GLENN MASSEY                   )
____________________________________)

        This matter is before the court upon the defendant’s request for termination of supervised
release. Defendant was sentenced on October 6, 2000 to a term of 96 months imprisonment and
10 years supervised release. His supervised release term began on October 23, 2006. While the
court is mindful of the Probation Officer’s recommendation to deny termination of supervised
release, the court nevertheless determines that early termination will probably offer the best
opportunity for this defendant to remain gainfully employed.
        IT IS THEREFORE ORDERED that defendant’s term of supervised release is hereby
terminated.
                                                  Signed: December 2, 2009




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